           Case: 3:18-cv-02739-JGC Doc #: 12 Filed: 02/07/19 1 of 2. PageID #: 35




1                                UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
2

3
     KELLY BOOTH,                                   )
                                                    ) Case No. 3:18-cv-2739
4                  Plaintiffs,                      )
                                                    )
5           v.                                      ) Hon. Judge James G. Carr
                                                    )
6    CHASE BANK USA, N.A.,                          )
                                                    )
7                  Defendant.                       )
                                                    )
8
                                                    )
                                                    )
9
                                                    )
                                                    )
10

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12                  PLAINTIFF KELLY BOOTH’S NOTICE OF SETTLEMENT

13          Plaintiff KELLY BOOTH notifies this Court that Plaintiff and Defendant CHASE BANK

14   USA, N.A., have resolved all claims between them in this matter and are in the process of

15   completing the final settlement documents and filing the appropriate dismissal pleadings. The

16   parties request that the Court retain jurisdiction for sixty (60) days for any matters related to
17   completing and/or enforcing the settlement and stay all remaining discovery deadlines.
18                               Respectfully submitted the 7th day of February 2019.
19
                                                          By: /s/ Peter Cozmyk
20
                                                          Peter Cozmyk
                                                          COZMYK LAW OFFICES
21
                                                          6100 Oak Tree Blvd., Suite 200
                                                          Independence, OH 44131
22                                                        P: (440) 292-7672
                                                          E: pcozmyk@cozmyklaw.com
23                                                        Attorney for Plaintiff, KELLY BOOTH
24

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                                        NOTICE OF SETTLEMENT
           Case: 3:18-cv-02739-JGC Doc #: 12 Filed: 02/07/19 2 of 2. PageID #: 36




1                                  CERTIFICATE OF SERVICE

2           I certify that on February 7, 2019, 2019 I filed Plaintiff KELLY BOOTH’s Notice of

3    Settlement using the CM/ECF system, which will provide notice to the following:
4

5    David J. Dirisamer (0092125)
     BARNES & THORNBURG LLP
6    41 South Hight Street, Suite 3300
     Columbus, OH 43215
7
     T: (614) 628-0096
8
     F: (614) 628-1433
     E: David.Dirisamer@btlaw.com
9    ATTORNEY TO BE NOTICED

10

11                                                     By: /s/ Peter Cozmyk
                                                       Peter Cozmyk
12                                                     COZMYK LAW OFFICES
                                                       6100 Oak Tree Blvd., Suite 200
13                                                     Independence, OH 44131
                                                       P: (440) 292-7672
14
                                                       E: pcozmyk@cozmyklaw.com
                                                       Attorney for Plaintiff, KELLY BOOTH
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                                         NOTICE OF SETTLEMENT
